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                                  UNITED STATES DISTRICT COURT
                                            FOR THE
                                         DISTRICT OF COLUMBIA

                      Pretrial Services Agency for the District of Columbia Memorandum
                                                (Status Report)


Presiding Judge:              The Honorable Amit P. Mehta
                              United States District Court

Date:                        6/6/2023                                                         No Photo
                                                                                              Available
Name of Defendant:           Stefanie Chiguer

Docket Number:               CR22-000025-02


Offense:                     Disorderly and Disruptive Conduct in a Restricted
                             Building
                             Disorderly Conduct in a Capitol Building
                             Entering or Remaining in Restricted Building or
                             Grounds
                             Parading, Demonstrating, or Picketing in a Capitol
                             Building

Release Date:                1/20/2022

Conditions of Release:        USDC Team General Supervision
                              •       Report to Pretrial Services Agency (PSA) as directed Specify if other selected:
                                      District of Massachusetts Report
                              •       Avoid all contact, directly or indirectly, with any person who is or may be a
                                      victim or witness in the investigation or prosecution, including: co-defendant
                                      Kirstyn Ashley Niemela .
                              •       Comply with all rules and regulations of supervising agency.
                              •       Other conditions: not possess a firearm, destructive device, or other weapon .
                              •       Stay out of D.C. except for Court or PSA business.
                              •       Other conditions: Notify in advance the District of Massachusetts of all travel
                                      outside that jurisdiction. All travel outside the continental United States must
                                      be approved by the court .
                              •       Verify your address with Pretrial Services Agency (PSA) immediately or by
                                      the next business day.
                              •       Other conditions: Contact is permitted with witness Mark Leach but shall not
                                      discuss anything related to this pending case without the presence of counsel .
                              •       Other conditions: The defendant may travel to New Hampshire without
                                      providing notice to Pretrial Services .

Hearing Date:                 06/09/2023
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In accordance with Your Honor’s order dated January 20, 2022, the Pretrial Services Agency for the District of
Columbia (PSA) is providing a status update of Stefanie Chiguer's compliance with the conditions of release.

Pretrial Supervision Adjustment:
Reporting:
According to the District of Massachusetts, the defendant reports as directed.

Address Verification:
The defendant’s address was verified by the District of Massachusetts on 2/16/2022.

Avoid All Contact, Directly or Indirectly, with any Person Who is or may be a Victim or Witness in the Investigation
or Prosecution, Including: Co-Defendant Kirstyn Ashley Niemela:
PSA has not received any violations concerning this condition of release.

Not Possess a Firearm, Destructive Device, or Other Weapon:
PSA has not received any violations pertaining to this release condition.

Stay Outside of DC Except for Court or PSA Business:
PSA has not received any violations on this release condition.

Contact is Permitted with Witness Mark Leach but Shall not Discuss Anything Related to this Pending Case Without
the Presence of Counsel:
PSA is unaware of any violations of this release condition.

The Defendant May Travel to New Hampshire Without Providing Notice to Pretrial Services:
PSA has not received any violations about this condition of release.

Travel:
PSA has not received any violations with respect to the defendant’s travel release condition.

Comply with All Rules and Regulations of the District of Massachusetts:
According to the District of Massachusetts, the defendant is compliant with all conditions of release in this matter.
Warrant Check:
On 6/5/2023, the Washington Area Law Enforcement System (WALES), National Crime
Information Center (NCIC) and the FBI records were checked and yielded no pending warrants or new arrests for the
defendant.



                                             I declare under penalty of perjury that the foregoing is true and correct:


                                                                                              6/6/2023
                                       By: Katrina Stanford                                  Date
                                             Pretrial Services Officer
                                             202-585-7129


                                                                                            06/06/2023
                              Approved by: Phillippa Bradley                                Date
                                             Supervisor
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  CONFIDENTIALITY NOTICE

  If you are not the intended recipient of this report, any review, disclosure, copying, distribution, retention, or use of this document may be
  unlawful. If you are not the intended recipient, please contact the Pretrial Services Agency for the District of Columbia immediately at 202-220-
  5500 and destroy this report and any copies thereof. If this report contains substance disorder treatment information, it has been disclosed to you
  from records protected by Federal confidentiality rules (42 C.F.R. Part 2). Federal rules prohibit you from making any further disclosure of this
  information unless further disclosure is expressly permitted by the written consent of the person to whom the information pertains or as
  otherwise permitted by 42 C.F.R. Part 2. A general authorization for the release of medical or other information is NOT sufficient for this
  purpose. The Federal rules restrict any use of the information to criminally investigate or prosecute any alcohol or drug abuse patient. If this
  report contains mental health information, it is protected by the D.C. Mental Health Information Act (D.C. Code §§ 7-1201.01, et seq.). Any
  unauthorized disclosure of mental health information that may be contained in this report would violate the provisions of the Act. Further
  disclosure may only be made pursuant to a valid authorization by the person to whom the information pertains or as otherwise provided by the
  Act. The Act provides civil damages and criminal penalties for violations.
